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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG           *     MDL NO.: 2179
“DEEP WATER HORIZON” IN THE               *
GULF OF MEXICO, ON APRIL 20, 2010         *     SECTION “J”
                                          *
THIS DOCUMENT RELATES TO:                 *     JUDGE BARBIER
Adams v. State of LA 11-CV-1051           *     MAG. JUDGE SHUSHAN
******************************************************************************

                                            ORDER
       Considering the above and foregoing,

       IT IS ORDERED that the defendant, Peneton Corporation, be allowed through

August 18, 2011 within which to file responsive pleadings to the Petition of plaintiff herein, Guy

Adams, et al, as well as respond to any discovery propounded with the Petition, including, but

not limited to, any Request for Admissions, Interrogatories and/or Request for Production of

Documents.
       New Orleans, Louisiana, this ____ day of _________________________, 2011.


                                                     ________________________________
                                                           J U D G E

                                RULE LR7.9E CERTIFICATE


       I do hereby certify that there has been no previous Extension of Time to Plead and the

opposing party has not filed an objection to the extension of time into the record.

                                                     ____s/Patrick C. Grace_________________
                                                     PATRICK C. GRACE
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